2/20/2021 21-30067-hcm                    Doc#32-2 Filed 02/22/21 Enteredﬂexmls
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                                                 Market Analysis dated 2/20/2021 Pg 1 of 14

                                                    Comparable Market Analysis
                                                       5401 Montoya, El Paso, Tx, 79932
                                                   Prepared for Benjamin Giron—Saturday, February 20, 2021



     Veronica Flaherty
     Dependable Real Estate Group


     6121 Pinehurst
     El Paso, TX 79912
     915-204-2009
     veronica@dependablereg.com
     http://www.dependablereg.com
    This represents an estimated sale price for this property. It is not the same as the opinion of value in an appraisal developed by a licensed appraiser under the Uniform Standards
    of Professional Appraisal Practice.




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    CMA Prepared for Benjamin Giron by Veronica Flaherty                                                       5401 Montoya , El Paso Tx 79932

    Map of Subject And Comparable Properties




                         Active           Sold          Pending            Withdrawn             Cancelled            Expired

                                                    Address                                   MLS #      Status        Distance from Subject
                     5401 Montoya , El Paso Tx 79932
        Subject
    1                808 W Sunset Road , El Paso TX 79922                                       736663     Closed                           1.91m
    2                5040 Meadowlark Drive , El Paso TX 79922                                   756805     Closed                           0.94m
    3                4031 Roadside Court , El Paso TX 79922                                     758660     Closed                           3.46m
    4                725 GARY Lane , El Paso TX 79922                                           807112     Closed                           2.79m
    5                5021 VISTA DEL MONTE Street , El Paso TX 79922                             825249     Closed                           0.87m
    6                5611 WESTSIDE Drive , El Paso TX 79932                                     832272     Closed                           1.74m




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    CMA Prepared for Benjamin Giron by Veronica Flaherty                                                       5401 Montoya , El Paso Tx 79932

    Subject
    Address                                                                                                       5401 Montoya , El Paso, Tx 79932
    # Bedrooms                                                                                                                                    7
    Total Baths                                                                                                                                   4
    Apx Sqft - Main                                                                                                                            5800
    Lot Size                                                                                                                                      .5
    Year Built
    Pool on Property                                                                                                                             no
    Lot Description: View Lot                                                                                                               standard
    Garage: Double Attached                                                                                                 double attached carport




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    CMA Prepared for Benjamin Giron by Veronica Flaherty                                                       5401 Montoya , El Paso Tx 79932

    Comparable Properties
                                          Subject                     736663                       756805                      758660




                                      5401 Montoya             808 W Sunset Road           5040 Meadowlark Drive        4031 Roadside Court
                                     El Paso Tx 79932              El Paso TX                    El Paso TX                  El Paso TX
      Distance From Subject                                                         1.91                        0.94                          3.46
      List Price                                                               $689,000                     $980,000                    $580,000
      Original List Price                                                      $750,000                  $1,150,000                     $589,000
      Sold Price                                                               $600,000                     $905,000                    $530,000
      Status                                                                     Closed                       Closed                        Closed
      Status Date                                                            09/05/2019                  07/01/2019                   09/13/2019
      Days on Market                                                                613                          175                          256
      Cumulative Days on                                                            613                          175                          527
      Market
      Adjustment                                                                     +/-                          +/-                          +/-
      # Bedrooms                                          7              5        +8000              5        +8000               6         +4000
      Total Baths                                         4              5                           6                            7
      Apx Sqft - Main                                  5,800        4,794                        5,583                       5,100
      Lot Size                                           0.5       87,120                       43,485                      86,990
      Year Built                                                     1978                         1989                        1985
      Pool on Property                                   no            No                          Yes                         Yes
      Lot Description: View Lot                     standard
      Garage: Double Attached        double attached carport
      Adjusted Price                                $661,667                   $608,000                     $913,000                    $534,000




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                                          Subject                     807112                       825249                      832272




                                                                                           5021 VISTA DEL MONTE
                                      5401 Montoya               725 GARY Lane                     Street               5611 WESTSIDE Drive
                                     El Paso Tx 79932              El Paso TX                    El Paso TX                  El Paso TX
      Distance From Subject                                                         2.79                        0.87                          1.74
      List Price                                                               $950,000                     $450,000                    $569,500
      Original List Price                                                      $950,000                     $450,000                    $569,500
      Sold Price                                                               $850,000                     $465,000                    $576,000
      Status                                                                     Closed                       Closed                        Closed
      Status Date                                                             08/14/2019                 09/24/2020                   10/21/2020
      Days on Market                                                                 59                                                        29
      Cumulative Days on                                                             59                                                        29
      Market
      Adjustment                                                                     +/-                          +/-                          +/-
      # Bedrooms                                          7               5       +8000              5        +8000               5         +8000
      Total Baths                                         4               5                          4                            5
      Apx Sqft - Main                                  5,800          5,775                      4,645                        4,814
      Lot Size                                           0.5       58,457.5                     50,000                      86,902
      Year Built                                                      2007                        1971                        1987
      Pool on Property                                   no             No                         Yes                         Yes
      Lot Description: View Lot                     standard            Yes
      Garage: Double Attached        double attached carport                                       Yes
      Adjusted Price                                $661,667                   $858,000                     $473,000                    $584,000




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    CMA Prepared for Benjamin Giron by Veronica Flaherty                                                       5401 Montoya , El Paso Tx 79932

    Price Analysis

                                                   List, Sold and Adjusted Prices
                                                                    Closed Listings
    $1 250 000

    $1 000 000

      $750 000        Recommended Price: $661,667

      $500 000

      $250 000

              $0
                         736663           756805                    758660                807112               825249                832272
                    808 W Sunset Road 5040 Meadowlark            4031 Roadside         725 GARY Lane        5021 VISTA DEL        5611 WESTSIDE
                        El Paso TX          Drive                    Court               El Paso TX          MONTE Street              Drive
                                         El Paso TX                El Paso TX                                 El Paso TX            El Paso TX
                        List         Sold         Adjusted           Low, High and Recommended List Price, Subject Property




                                        Low, Average, Median, and High Sold Prices
                                                                    Closed Listings
    $1 000 000

      $900 000

      $800 000

      $700 000
                      Recommended Price: $661,667
      $600 000

      $500 000

      $400 000
                                  Low                           Average                          Median                           High
                                    Sold Price          Low, High and Recommended List Price, Subject Property




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                                       Market Analysis dated 2/20/2021 Pg 7 of 14
    Summary of Closed Listings
                                                                                                                                       Total           Adjusted
    MLS #                      Address                       List Price      DOM        CDOM       Sold Date        Sold Price      Adjustments         Price
    736663     808 W Sunset Road, El Paso TX                    $689,000         613      613       08/23/2019         $600,000               $8,000 $608,000
    756805     5040 Meadowlark Drive, El Paso TX                $980,000         175      175       07/01/2019         $905,000               $8,000 $913,000
    758660     4031 Roadside Court, El Paso TX                  $580,000         256      527       08/19/2019         $530,000               $4,000 $534,000
    807112     725 GARY Lane, El Paso TX                        $950,000           59       59      08/14/2019         $850,000               $8,000 $858,000
    825249     5021 VISTA DEL MONTE Street, El Paso             $450,000                            09/04/2020         $465,000               $8,000 $473,000
               TX
    832272     5611 WESTSIDE Drive, El Paso TX                  $569,500           29       29      10/20/2020         $576,000               $8,000 $584,000




    Low, Average, Median, and High Comparisons
                                                                          Closed                                                 Overall
    Low                                                                                        $473,000                                                $473,000
    Average                                                                                    $661,667                                                $661,667
    Median                                                                                     $596,000                                                $596,000
    High                                                                                       $913,000                                                $913,000




    Overall Market Analysis (Unadjusted)
                          Avg. List           Avg. Sold Avg. Sale/List Avg. Apx Sqft              Avg. List $/Apx      Avg. Sold $/Apx         Avg.      Avg.
    Status # List Vol.     Price    Sold Vol.   Price       Price         - Main                    Sqft - Main          Sqft - Main           DOM      CDOM
    Closed 6 4,218,500      703,083 3,926,000      654,333                0.94           5,118              135.44                   126.35      189       234
    Overall 6 4,218,500     703,083 3,926,000      654,333                0.94           5,118              135.44                   126.35      189       234



    SELECTION CRITERIA FOR COMPARABLE PROPERTIES

    Speciﬁed listings from the following search: Property type Residential; Status of 'Active', 'Closed'; Property Class of 'Detached'; New Home or
    Resale of 'Resale'; # Bedrooms between 5 and 8; Apx Sqft - Main between 4600 and 6200; Apx Acres between .75 and 2.0; Middle School of
    'Lincoln'; Sold Date between '06/20/2019' and '02/20/2031'.




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    CMA Prepared for Benjamin Giron by Veronica Flaherty                                                       5401 Montoya , El Paso Tx 79932

    Listing Price Recommendation
    Low                                                                                                                                     $473,000
    High                                                                                                                                    $913,000
    Recommended                                                                                                                             $661,667




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2/20/2021 21-30067-hcm            Doc#32-2 Filed 02/22/21 Enteredﬂexmls
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                                         Market Analysis dated 2/20/2021 Pg 9 of 14
  Residential 736663 Closed                                 808 W Sunset Road, El Paso, TX 79922                                                  LP: $689,000
       Sandy Messer And Associates 420
                                                         County:                  El Paso                      Property Class:   Detached
                                                         Subdivision:             Country Club Place           Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        4,794                        Zoning:           R2
                                                         Tax Year:                2017                         Defects:          Owner Not Aware
                                                         School District:         El Paso                      Water District:   El Paso Water
                                                         Elementary School:       White
                                                         Middle School:           Lincoln
                                                         High School:             Coronado
                                                         Parcel ID:               C87599900104200
                                                         New Home or Resale:      Resale




  Property Sub- Single Family               Maid's Room:      No                   Fireplace:      No                      Year Built:             1978
  Type:               Residence             Apx Sqft - Main: 4,794                 # Fireplaces: 0                         Pool on Property:       No
  # Bedrooms:         5                     List Price Sqft: 143.72                                                        Measured By:            Appraiser
  Total Baths:        5                     Apx Acres:        2                                                                                    CAD
  Full Baths:         4                     Lot Size:         87,120                                                       Laundry Room            Room
  3/4 Baths:          0                                                                                                    Location:
  Half Baths:         1
  House Faces: North
  Legal: COUNTRY CLUB PLACE SOUTHSIDE TR 39 (HOMESITE) (1 ACRE)
  Interior Features: 2+ Living Areas; Breakfast Area; Den; Dining Room; In-Law Quarters; Master Down; Utility Room; See Remarks
  Exterior Features: Back Yard Access; See Remarks
  Appliances: See Remarks
  Windows/Treatments:See Remarks
  Style:      2 Story                                     Construction:        Brick                         Landscape:            See Remarks
  Roof:       Shingle                                     Water:               City; Well                    Special Listing       Fixer Upper; Verify Flood
  Heating: See Remarks                                    Sewer:               Septic Tank                   Conditions:           Insurance; None
  Cooling: See Remarks                                    Flooring:            Other                         HOA?:                 No
  Garage: Double Carport; Carpad; See Remarks Lot Description:                 Horses Allowed; See
                                                                               Remarks
                                                          Finance              Cash; Conventional
                                                          Considered:
                                                          Exemptions:          65 or Over
  Public Remarks: This house sits on 2 acres of gated, walled land in a prime Upper Valley location. There is city water and electric but no sewer. Sewer is
  at street. Two septic tanks are on property. There are no warranties on this property. It is a house and in law suite attached. Car pads for parking and
  circular drive. This is prime land for residential development. Close to El Paso Country Club. survey available.
  Listing provided courtesy of:
   Veronica Flaherty
   Dependable Real Estate Group
   6121 Pinehurst
   El Paso, TX 79912
   915-204-2009
   veronica@dependablereg.com
   http://www.dependablereg.com
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  information on this sheet has been made available by the MLS and may not be the listing of the provider.

                                                   Adjustments for Comparable #736663 (Map Number 1)
  Description                                                                          Value                                        $600,000
  # Bedrooms                                                                                              +8000                                       $608,000




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  Residential 756805 Closed             Market Analysis   dated
                                                5040 Meadowlark    2/20/2021
                                                                Drive, El Paso, TX Pg  10 of 14
                                                                                   79922                     LP: $980,000
       Legacy Real Estate Services 2805
                                                         County:                  El Paso                      Property Class:   Detached
                                                         Subdivision:             Monte Vista                  Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        23,176                       Zoning:           R1
                                                         Tax Year:                2018                         Defects:          Owner Not Aware
                                                         School District:         El Paso                      Water District:   None
                                                         Elementary School:       White
                                                         Middle School:           Lincoln
                                                         High School:             Coronado
                                                         Parcel ID:               M71399900007500
                                                         New Home or Resale:      Resale
  Property Sub- Single Family             Maid's Room:           Yes             Is Property Also For Lease?: No       Year Built:                  1989
  Type:              Residence            Apx Sqft - Main:       5,583           Fireplace:                     Yes Pool on Property:               Yes
  # Bedrooms:        5                    Apx SqFt - 2nd Bldg: 899               # Fireplaces:                  1      Measured By:                 Appraiser
  Total Baths:       6                    List Price Sqft:       175.53                                                Laundry Room Location: Room
  Full Baths:        3                    Apx Acres:             1
  3/4 Baths:         2                    Lot Size:              43,485
  Half Baths:        1
  House Faces: West
  Room Name                  Level      Length          Width       Remarks             Room Features
  Bedroom                                                                               With Bath,Walk-in Closets
  Bedroom                                                                               With Bath,Walk-in Closets
  Bedroom                                                                               With Bath,Walk-in Closets
  Bedroom                                                                               Walk-in Closets
  In-Law Apt                                                                            Ceiling Fan,Walk-in Closets,With Bath
  MBR Suite                                                                             With Bath,Walk-in Closets
  Legal: MONTE VISTA #2 SLY PT OF TR 12 (102.38 FT ON ST - IRREG ON N - 116.82 FT ON E - 400 FT ON S) (0.9983 AC)
  Interior Features: 2+ Living Areas; Alarm System; Breakfast Area; Built-Ins; Cable TV; Ceiling Fan(s); Dining Room; Foyer; Hot Tub (Indoor); Live-In
  Room; Master Up; MB Double Sink; Media Room; Pantry; Study Office
  Exterior Features: Back Yard Access; Deck; Wall Privacy; Walled Backyard
  Appliances: Built-In Electric Oven; Dishwasher; Disposal; Fan Hood; Gas Cooktop; Microwave; Refrigerator; Water Heater Gas
  Windows/Treatments:Drapes; Shutters
  Style:     2 Story; Custom; See Remarks              Construction:       Brick Veneer                   Landscape:                Auto Sprinklers; Front &
  Roof:      Composition; Pitched                      Water:              City; See Remarks                                        Back
  Heating: 2+ Units; Central; Forced Air               Sewer:              See Remarks                    Special Listing           None
  Cooling: 2+ Units; Evaporative Cooling;              Flooring:           Carpet; Hardwood; Terrazzo Conditions:
             Refrigerated                              Lot Description: Irrigation; Standard Lot;         HOA?:                     No
  Pool:      Gunite; Heated; In Ground                                     Subdivided
  Garage: Double Detached; Oversized; RV               Finance             Cash; Conventional; FHA
             Parking                                   Considered:
                                                       Exemptions:         Homestead
  Public Remarks: This stunning estate home features 5 Bedrooms plus maid's quarters and a separate guest house to create a complete picture for a
  large family. Located on nearly one acre of lush landscaping and one block from El Paso Country Club, this exquisite custom home is move-in ready. A
  warm atmosphere with sophisticated indoor and outdoor living/and entertainment areas are a rare find. The chef's kitchen is centrally located to a formal
  dining area, live-in room and sun room. A grand foyer with stunning stairway and spacious office is accented by rich hardwood flooring. The theater/media
  room is complete with all the bells and whistles. Each bedroom has a bath and 2 guest baths. The backyard is a haven for family gatherings,
  entertainment and relaxation. Enjoy the sparkling pool and beautiful surroundings. The large multi-purpose guest house has a full kitchen/bath and is ideal
  for mother-in law, man cave or teenager's area. This is the home where everyone will want to gather! NEW ROOF DEC 2018
  Listing provided courtesy of:
   Veronica Flaherty
   Dependable Real Estate Group
   6121 Pinehurst
   El Paso, TX 79912
   915-204-2009
   veronica@dependablereg.com
   http://www.dependablereg.com
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                                                   Adjustments for Comparable #756805 (Map Number 2)
  Description                                                                          Value                                        $905,000
  # Bedrooms                                                                                              +8000                                       $913,000




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  Residential 758660 Closed            Market  Analysis    dated
                                                 4031 Roadside     2/20/2021
                                                               Court,              Pg 11 of 14
                                                                      El Paso, TX 79922                     LP: $580,000
       The Real Estate Power Houses 1786
                                                         County:                  El Paso                 Property Class:   Detached
                                                         Subdivision:             Los Paseos              Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        15,144                  Zoning:           R2
                                                         Tax Year:                2016                    Defects:          Owner Not Aware
                                                         School District:         El Paso                 Water District:   El Paso Water
                                                         Elementary School:       White
                                                         Middle School:           Lincoln
                                                         High School:             Coronado
                                                         Parcel ID:               403083
                                                         New Home or Resale:      Resale




  Property Sub-Type: N/A                  Maid's Room:           Yes              Fireplace:      Yes                       Year Built:                 1985
  # Bedrooms:            6                Apx Sqft - Main:       5,100            # Fireplaces: 2                           Pool on Property:           Yes
  Total Baths:           7                Apx SqFt - 2nd Bldg: 500                                                          Measured By:                Appraiser
  Full Baths:            3                List Price Sqft:       113.73                                                     Laundry Room Location: Room
  3/4 Baths:             3                Apx Acres:             2
  Half Baths:            1                Lot Size:              86,990
  Legal: Lot 6, Blk 4, Los Paseos Replat, El Paso Texas
  Interior Features: 2+ Living Areas; Breakfast Area; Built-Ins; Cedar Closet(s); Den; Dining Room; Formal DR LR; Hot Tub (Indoor); LR DR Combo;
  Master Down; MB Jetted Tub; Skylight(s); Study Office; Utility Room; Wet Bar
  Exterior Features: Awning(s); Fireplace Outside; Gas Grill; Gazebo; Hot Tub; See Remarks
  Appliances: Built-In Gas Oven; Dishwasher; Disposal; Dryer Hookup; Exhaust Fan - Recirculating; Gas Cooktop; Indoor Grill; Washer Hookup
  Windows/Treatments:Blinds; Double Pane Windows; Storm Window(s)
  Style:      1 Story                                  Construction:      Brick                               Landscape:           Front & Back; Full Sprinkler;
  Roof:       Pitched; Shingle                         Water:             City                                                     Garden/Fruit Trees
  Heating: 2+ Units; Central; Forced Air               Sewer:             City                                Special Listing      Owner Agent; Verify Flood
  Cooling: 2+ Units; Refrigerated                      Flooring:          Hardwood; Terrazzo; See             Conditions:          Insurance
  Pool:       Heated; In Ground; Yes                                      Remarks                             HOA?:                No
  Garage: Triple Attached; RV Parking; Workshop Lot Description: Cul-De-Sac; Horses Allowed; HOA Amenities: None
              Area                                                        Irrigation
                                                       Finance            Conventional; TX Veteran; VA
                                                       Considered:        Loan
                                                       Exemptions:        Homestead
  Public Remarks: Gated entry to almost 2 acres of prime land in the upper Valley. Great location next to million $ homes. Plenty of parking space including
  RV, Triple car garage and other parking spaces. Independent Office with own private entry. Stand-alone building currently used as workshop
  (heated&cooled). Huge warehouse also heated and cooled. One story home featuring Heated Pool. Hardwood floors. Indoor spa room. Spacious kitchen
  w/ all S.S. appliances. Granite counter tops throughout kitchen. Refrigerated AC. 2 fire places. Wet bar. Outdoor kitchen. 2 dining areas. 2 Living areas.
  Irrigation rights and much more... Note: Main house is +/- 3,600sqft and rear office is +/- 1,500 sqft with refrigerated cooling and heating.
  Listing provided courtesy of:
   Veronica Flaherty
   Dependable Real Estate Group
   6121 Pinehurst
   El Paso, TX 79912
   915-204-2009
   veronica@dependablereg.com
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  information on this sheet has been made available by the MLS and may not be the listing of the provider.

                                                   Adjustments for Comparable #758660 (Map Number 3)
  Description                                                                          Value                                        $530,000
  # Bedrooms                                                                                              +4000                                        $534,000




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  Residential 807112 Closed             Market Analysis  dated
                                                  725 GARY        2/20/2021
                                                           Lane, El             Pg 12 of 14
                                                                    Paso, TX 79922                        LP: $950,000
       Home Pros Real Estate Group 1595
                                                         County:                  El Paso                       Property Class:   Detached
                                                         Subdivision:             El Retiro                     Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        21,066                        Zoning:           R2A
                                                         Tax Year:                2018                          Defects:          Owner Not Aware
                                                         School District:         El Paso                       Builder Name:     Duncan
                                                         Elementary School:       White                         Water District:   El Paso Water
                                                         Middle School:           Lincoln
                                                         High School:             Coronado
                                                         Parcel ID:               E382-999-0020-0200
                                                         New Home or Resale:      Resale




  Property Sub-Type: N/A                 Maid's Room:      Yes                  Fireplace:    Yes                    Year Built:            2007
  # Bedrooms:            5               Apx Sqft - Main: 5,775                 # Fireplaces: 2                      Pool on Property:      No
  Total Baths:           5               List Price Sqft: 164.5                                                      Measured By:           Appraiser
  Full Baths:            2               Apx Acres:        1.34                                                                             CAD
  3/4 Baths:             3               Lot Size:         58,457.5                                                  Laundry Room           Room
  Half Baths:            0                                                                                           Location:
  Room Name            Level   Length     Width     Remarks                                                                       Room Features
  Bonus Room           Upper   18         12        GREAT BONUS ROOM FOR A GAME ROOM OR OFFICE
  Legal: 2 EL RETIRO SUBDIVISION LOT 2 (58457.52 SQ FT)
  Interior Features: 2+ Living Areas; Breakfast Area; Ceiling Fan(s); Den; Kitchen Island; LR DR Combo; MB Shower/Tub; Pantry; Study Office; Utility
  Room; Walk-in Closet(s); Wet Bar
  Exterior Features: Back Yard Access; RV Hookup; See Remarks
  Appliances: Dishwasher; Disposal; Double Oven; Dryer Hookup; Free-Standing Gas Oven; Range Hood; Refrigerator; Washer Hookup
  Windows/Treatments:Double Pane Windows; See Remarks
  Style:    1 Story; Custom                           Construction: Brick; Stucco                       Landscape:          Auto Sprinklers; Front &
  Roof:     Flat; Tile                                Water:           City                                                 Back; Lawn Grass
  Heating: Central; Forced Air; Natural Gas           Sewer:           City                             Special Listing     None
  Cooling: 2+ Units; Central Air; Refrigerated        Flooring:        Hardwood; No Carpet; Wood        Conditions:
  Pool:     None                                      Lot              Corner Lot; Cul-De-Sac; View Lot HOA?:               No
  Garage: Triple Attached; Oversized; Storage         Description:
                                                      Finance          Cash; Conventional; FHA; TX
                                                      Considered: Veteran; VA Loan
                                                      Exemptions: Homestead
  Public Remarks: ABSOLUTELY STUNNING MAJESTIC CUSTOM HOME LOCATED IN THE HEART OF UPPER VALLEY! WALK THRU THE RUSTIC
  DOUBLE WOOD DOORS INTO A WONDERFUL COURTYARD SURROUNDED WITH LIME STONE COLUMNS AND A STONE FIREPLACE
  ENTERING INTO AN IMPRESSIVE OPEN LIVING AREA WITH VAULTED CEILINGS, LARGE BEAMS, RECESSED LIGHTING AND LUXURIOUS
  FIREPLACE. A BEAUTIFUL GOURMET KITCHEN WITH QUARTZ COUNTER TOPS, AN ISLAND, A DOUBLE OVEN, WOLF BRAND STOVE AND A
  SUBZERO REFRIGERATOR, A BREAKFAST AREA AND OR OFFICE. A WONDERFUL WET BAR GREAT FOR ENTERTAINING WITH WINE AND
  BEVERAGE REFRIGERATORS. ALONG WITH 2 LIVING AREAS, THIS HOME ALSO FEATURES 5 SPACIOUS BEDROOMS ALL WITH WALK IN
  CLOSETS, ONE OF THE BEDROOMS MAY BE A IN LAWS QUARTERS, 5 BATHS, MASTER BATH WITH A STEAM SYSTEM, MAID QUARTERS,
  ELEGANT HARDWOOD FLOORS, PELLA WINDOWS, TRIPLE OVER SIZE GARAGE, WITH LOTS OF STORAGE AND A GREAT BONUS ROOM IN
  UPPER LEVEL. ENJOY A COVERED PATIO OVERLOOKING WONDERFUL SIZE BACK YARD LARGE ENOUGH FOR A POOL AND MORE! MAKE IT
  YOUR DREAM HOME TODAY!
  Listing provided courtesy of:
   Veronica Flaherty
   Dependable Real Estate Group
   6121 Pinehurst
   El Paso, TX 79912
   915-204-2009
   veronica@dependablereg.com
   http://www.dependablereg.com
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                                                   Adjustments for Comparable #807112 (Map Number 4)
  Description                                                                          Value                                        $850,000
  # Bedrooms                                                                                              +8000                                       $858,000




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2/20/2021 21-30067-hcm            Doc#32-2 Filed 02/22/21 Enteredﬂexmls02/22/21 06:43:07 Exhibit B Comparable
  Residential 825249 Closed             Market 5021
                                               Analysis    dated
                                                    VISTA DEL    2/20/2021
                                                              MONTE              PgTX
                                                                    Street, El Paso, 13 of 14            LP: $450,000
                                                                              79922
         Steve Shapiro, REALTOR 2136
                                                         County:                  El Paso                      Property Class:   Detached
                                                         Subdivision:             Vista Linda                  Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        9,369                        Zoning:           R1
                                                         Tax Year:                2019                         Defects:          Owner Not Aware
                                                         School District:         El Paso                      Water District:   El Paso Water
                                                         Elementary School:       Bond
                                                         Middle School:           Lincoln
                                                         High School:             Coronado
                                                         Parcel ID:               V90299900103100
                                                         New Home or Resale:      Resale




  Property Sub-Type: N/A                 Maid's Room:      Yes                Fireplace:     No                    Year Built:           1971
  # Bedrooms:           5                Apx Sqft - Main: 4,645               # Fireplaces: 0                      Pool on Property:     Yes
  Total Baths:          4                List Price Sqft: 96.88                                                    Measured By:          Appraiser
  Full Baths:           3                Apx Acres:        1.1                                                                           CAD
  3/4 Baths:            1                Lot Size:         50,000                                                  Laundry Room          Room
  Half Baths:           0                                                                                          Location:
  Legal: VISTA LINDA TR 5 (1.146 AC)
  Interior Features: 2+ Living Areas; Breakfast Area; Den; Dining Room; Live-In Room; Wet Bar
  Exterior Features: Back Yard Access
  Appliances: Built-In Electric Oven; Electric Cooktop; Refrigerator
  Windows/Treatments:Drapes
  Style:    1 Story; Custom                           Construction:        Brick                      Landscape:                   Front & Back
  Roof:     Pitched; Shingle                          Water:               City; Irrigation Well      Special Listing Conditions: Fixer Upper
  Heating: Central; Natural Gas                       Sewer:               City                       HOA?:                        No
  Cooling: Central Air; Refrigerated                  Flooring:            Carpet; Marble
  Pool:     Above Ground; Salt Water                  Lot Description:     Horses Allowed; Irrigation
  Garage: Double Attached                             Finance Considered: Cash; Conventional
                                                      Exemptions:          65 or Over
  Public Remarks: EXCELLENT UPPER VALLEY HOME LOCATED WITHIN WALKING DISTANCE OF THE EL PASO COUNTRY CLUB. 5 BEDROOMS
  4 BATHROOMS PLUS OFFICE. LARGE OPEN KITCHEN AND FORMAL DINING ROOM. OVER 1 ACRE OF LAND. SWIMMING POOL, CABANA, AND
  STABLES. PROPERTY IS BEING SOLD AS IS.
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   veronica@dependablereg.com
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                                                   Adjustments for Comparable #825249 (Map Number 5)
  Description                                                                          Value                                        $465,000
  # Bedrooms                                                                                              +8000                                       $473,000




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2/20/2021 21-30067-hcm            Doc#32-2 Filed 02/22/21 Enteredﬂexmls  02/22/21 06:43:07 Exhibit B Comparable
  Residential 832272 Closed             Market Analysis  dated
                                                5611 WESTSIDE     2/20/2021
                                                              Drive,             Pg 14 of 14
                                                                     El Paso, TX 79932                     LP: $569,500
       Sandy Messer And Associates 420
                                                         County:                  El Paso                      Property Class:   Detached
                                                         Subdivision:             Upper Valley                 Listing Type:     Exclusive Right To Sell
                                                         Apx Yearly Taxes:        12,664                       Zoning:           R1
                                                         Tax Year:                2020                         Defects:          Owner Not Aware
                                                         School District:         El Paso                      Water District:   El Paso Water
                                                         Elementary School:       Bond
                                                         Middle School:           Lincoln
                                                         High School:             Franklin
                                                         Parcel ID:               U819999008D1705
                                                         New Home or Resale:      Resale

  Property Sub-Type: N/A                    Maid's Room:     Yes                  Is Property Also For Lease?: No        Year Built:                1987
  # Bedrooms:            5                  Apx Sqft - Main: 4,814                Fireplace:                      Yes Pool on Property:             Yes
  Total Baths:           5                  List Price Sqft: 118.3                # Fireplaces:                   2      Measured By:               Appraiser
  Full Baths:            2                  Apx Acres:       2                                                                                      CAD
  3/4 Baths:             2                  Lot Size:        86,902                                                      Laundry Room               Laundry
  Half Baths:            1                                                                                               Location:                  room
  Legal: 8 UPPER VALLEY TR 17-A-1 (1.995 AC)
  Interior Features: 2+ Living Areas; Atrium; Breakfast Area; Ceiling Fan(s); Den; Dining Room; Game Hobby Room; Kitchen Island; Live-In Room; Master
  Down; MB Double Sink; Pantry; Utility Room; Walk-in Closet(s)
  Exterior Features: Back Yard Access; Courtyard; Hot Tub; See Remarks
  Appliances: Dishwasher; Disposal; Dryer Hookup; Free-Standing Electric Oven; Washer Hookup; Water Heater Gas; See Remarks
  Windows/Treatments:Shutters
  Style:     2 Story; Santa Fe; Territorial              Construction: Stucco                               Landscape:          Garden/Fruit Trees; Lawn
  Roof:      Flat; Tile                                  Water:           City                                                  Grass; Part Sprinklers
  Heating: 2+ Units                                      Sewer:           City                              Special Listing     None
  Cooling: 2+ Units; Refrigerated                        Flooring:        Carpet; Terrazzo                  Conditions:
  Pool:      Yes                                         Lot              Horses Allowed; Irrigation        HOA?:               No
  Garage: 4 Car or More Attached; Opener(s)              Description:
                                                         Finance          Cash; Conventional; FHA; Home
                                                         Considered:      Warranty
                                                         Exemptions:      65 or Over; Homestead
  Public Remarks: Custom built hacienda style home on 1.995 acres with pecan and fruit trees, horses allowed, irrigation rights and a well. Welcoming
  entry with fountain, surrounded by doors leading to the back courtyard to take in the serenity of the grounds. 4 spacious bedrooms and maids room
  downstairs with a large bedroom/game room upstairs. Spacious master suite with sitting area, kiva fireplace and french doors leading to courtyard and
  pool/spa. Master bath includes 2 separate vanities, shower, tub and walk in closets. Multiple living areas with wood ceilings and terrra cotta tile. Lovely
  kitchen with 2 ovens, large pantry, island and all open to breakfast area. 4 car garage, swimming pool and spa.
  Listing provided courtesy of:
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   Dependable Real Estate Group
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   El Paso, TX 79912
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                                                   Adjustments for Comparable #832272 (Map Number 6)
  Description                                                                          Value                                        $576,000
  # Bedrooms                                                                                              +8000                                       $584,000




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